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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, JOHN DOE, JANE DOE 1, JANE
  DOE 2, and JANE DOE 3,

                         Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,                  Civil Action No. 3:17-cv-00072-NKM
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                         Defendants.


      [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO PRECLUDE
   DEFENDANT MICHAEL PEINOVICH FROM RECORDING PARTIES’ DISCOVERY
                           NEGOTIATIONS
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         WHEREAS, on November 22, 2017, the Court entered a Pretrial Order that, among other

  provisions, required the parties to conduct a Fed.R.Civ.P.26(f) conference within seven days of

  that Pretrial Order;

         WHEREAS, the parties intend to hold a Fed.R.Civ.P.26(f) conference by telephone on

  November 29, 2017; and

         WHEREAS, on November 28-29, 2017, Defendant Michael Peinovich indicated that he

  intended to record the Fed.R.Civ.P.26(f) conference, and refused either to participate in the

  conference without recording it, or to conduct the conference by email;

         NOW, THEREFORE, it is ordered:

         1.      All parties or parties’ counsel are prohibited from recording any conversation

  with any party or party’s counsel at any time without their prior consent, including any

  Fed.R.Civ.P.26(f) conference.

  Dated: November _____, 2017

  SO ORDERED




                                                            Hon. Joel C. Hoppe, M.J.
